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      Attorneys for Plaintiff,
      ERIC AYALA, and all others similarly situated
 9    (additional attorneys listed on next page)
10
                        IN THE UNITED STATES DISTRICT COURT
11

12                         CENTRAL DISTRICT OF CALIFORNIA
13
      ERIC AYALA and ADRIAN AVILES,                   Case No.: 5:20-cv-00117-PSG-AFM
14    on behalf of themselves and all others
15
      similarly situated, and as “aggrieved           DECLARATION OF DWIGHT D.
      employees” on behalf of other                   STEWARD, Ph.D. IN SUPPORT OF
16    “aggrieved employees” under the Labor           PLAINTIFFS’ MOTION FOR
17    Code Private Attorneys General Act of           CLASS CERTIFICATION
      2004,
18
                                                          Courtroom: 6A
19                  Plaintiff(s),                         Judge: Hon. Philip S. Gutierrez
20
                    vs.                                   [REDACTED VERSION OF
21                                                        DOCUMENT FILED UNDER SEAL
22
      UPS SUPPLY CHAIN SOLUTIONS,                         PURSUANT TO ORDER OF THE
      INC. a Delaware corporation; and                    COURT DATED 01/15/21; ECF NO.
23    DOES 1 through 10, inclusive,                       60]
24
                    Defendant(s).
25

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 1                   DECLARATION OF DWIGHT D. STEWARD, Ph.D.
 2    I, DWIGHT D. STEWARD, declare as follows:
 3

 4    Introduction
 5           1.      My name is Dwight Steward and I am an economist and statistician. I
 6    have been retained by Plaintiffs’ counsel as an expert in this case. In this report, I
 7    describe the methodologies and that can be used to reliably analyze the Plaintiffs’
 8    allegations in this matter.
 9           2.      As an economist and statistician, I have provided consultation, reports,
10    and expert witness testimony on statistical and economic issues involving wage and
11    hour violations, off-the-clock work, employment disputes, and economic damages
12    in both litigation and non-litigation settings. I have served as a wage and hour
13    expert witness and consultant for both Plaintiffs and Defendants in federal and state
14    court in states including California, Washington, Nevada, Wyoming, North Dakota,
15    Colorado, Texas, Alabama, Georgia, Florida, Tennessee, South Carolina,
16    Louisiana, Missouri, Nebraska, Illinois, Iowa, Indiana, Ohio, Massachusetts, New
17    Jersey, New York, Louisiana, and Pennsylvania. I have provided testimony in
18    FLSA and wage and hour in cases such as Otsuka et al. v. Polo Ralph Lauren
19    Corporation (United States District Court, Northern District of California), Stout et
20    al. v. Universal Ensco, Inc. (United States District Court, Southern District of
21    Texas), Johnson et al. v. York (Superior Court of the State of California,
22    Sacramento County), Cruz et al. v. Unilock Chicago, Inc. (Circuit Court of
23    Sixteenth Judicial District, Kane County, Illinois) and Everado Carrillo, et al. v.
24    Schneider Logistics, Inc., et al (United States District Court, Central District of
25    California).
26           3.      In the cases of Otsuka v. Polo Ralph Lauren Corporation and Johnson
27    et al. v. York, I presented trial testimony on statistical sampling and survey data that
28    was used to analyze the prevalence of wage and hour violations and to calculate
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 1    economic damages. In another wage and hour case, Martinez, et al. v. Jatco, Inc.
 2    (Case No. RG 08-397316, Superior Court of the State of California for the County
 3    of Alameda), I worked jointly with the opposing expert in a court approved plan to
 4    develop a statistically reliable sampling methodology to analyze the Plaintiffs’
 5    alleged economic damages.
 6           4.     In addition, I am currently appointed by The United States District
 7    Court for the Eastern District of California Special Master team in Coleman et al.
 8    v. Newsom et al. as a labor economist. As a labor economist for the court’s Special
 9    Master, I am conducting an economic and statistical analysis to study the
10    employment and labor market issues in the Coleman v. Newsom case.
11           5.     I have been involved in the development, implementation, and analysis
12    of numerous statistical samples and survey data in both wage and hour litigation
13    and in non-litigation settings. My professional research routinely utilizes statistical
14    sampling and survey data. I have also performed sampling for projects outside of
15    employment and wage and hour litigation in areas including Medicaid billing and
16    law enforcement. In one long-running project, I created and analyzed survey data
17    of approximately 1,600 law enforcement agencies in Texas concerning racial
18    profiling, and police officers’ critical knowledge, beliefs, attitudes and practices, on
19    behalf of the NAACP, the Texas Criminal Justice Coalition and other national
20    organizations. Law enforcement agencies across Texas relied on this survey
21    research to gain an understanding of racial profiling in their communities and to
22    improve community relations in critical neighborhoods across Texas.
23           6.     In addition to serving as a consultant and expert witness, I have also
24    held teaching positions in The Department of Economics and The Red McCombs
25    School of Business at the University of Texas at Austin, and in The College of
26    Business Administration at Sam Houston State University. I have taught dozens of
27    statistics and economics courses that cover the use, administration, and analysis of
28    statistical samples and survey data. I have published in the Journal of Forensic
                                                      4
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 1    Economics and I am the author of “Statistical Analysis of Employment Data in
 2    Discrimination Lawsuits and EEO Audits: A statistical guide for attorneys, human
 3    resource professionals and EEO compliance personnel” and co-author of “Big Data
 4    Analytics in U.S. Courts, Uses, Challenges and Implications”. A true and correct
 5    copy of my CV is attached as Exhibit B.
 6           7.     In short, it is my opinion that the class-wide economic damages can be
 7    reliably calculated in this case. Calculating damages owed to class members for the
 8    alleged unpaid time and for alleged interrupted meal and rest periods can be
 9    determined utilizing several generally accepted methodologies: the defendant’s
10    security videos, a time and motion study, and/or class wide surveys. Reliable class
11    wide damages can be derived utilizing the security check time obtained from these
12    methodologies, and class members’ time and payroll records. These issues are
13    discussed in detail in the following sections of this declaration.
14

15    Overview
16           8.     It is my understanding that among the allegations, the class members
17    allege that they were not paid for all of the hours that they worked and that they did
18    not receive appropriate rest breaks and meal periods by the defendant’s (otherwise
19    referred to as “UPS SCS” hereafter). I further understand that the class members
20    contend that the defendant’s security check procedures resulted in unpaid work
21    time. In this case, I have been asked to calculate the plaintiffs’ class wide damages.
22    In this declaration, I provide the methodologies by which the plaintiffs’ class wide
23    damages can be reliably calculated.
24           9.     Specifically, the plaintiffs’ class wide economic damages can be
25    determined utilizing several generally accepted methodologies. The plaintiffs’
26    economic damages can be calculated using the defendant’s security video, time and
27    motion study, and/or class wide surveys (though I also understand the plaintiffs’
28    wish to conduct a site inspection). These methodologies: the security video, time
                                                      5
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 1    and motion study, and the survey, will be discussed in the following sections of this
 2    declaration.
 3           10.     I have been provided legal pleadings, defendant’s security video
 4    footage, and information concerning the opinions of Plaintiffs’ retained time and
 5    motion and survey experts. The documents I have been provided are listed in
 6    Exhibit A. Specifically, I have been provided a limited amount of security camera
 7    footage by UPS SCS. After reviewing the security camera footage, it is my
 8    understanding that the videos show REDACTED
 9

10                                                                         .
11           11.     It is my understanding that REDACTED
12                                                                             . For each of   REDACTED




13

14                                                                   .
15

16    Video Footage Method
17           12.     As mentioned, the plaintiffs’ class wide damages can be reliably
18    calculated utilizing the defendant’s security video. It is my understanding that the
19    plaintiffs allege that the defendant’s security check procedures resulted in unpaid
20    work time. The amount of time class members spent undergoing the defendant’s
21    security check procedures can be determined utilizing UPS SCS’ video footage.
22    UPS SCS maintains video surveillance footage at numerous security checkpoints
23    throughout the company’s sites. Such information could be used as a reliable basis
24    to calculate class wide economic damages for alleged unpaid time performed by
25    class members.
26           13.     As previously mentioned, the security camera footage provided is from
27    cameras at REDACTED                                                          . I have been
28    informed that REDACTED                                                                    . On
                                                      6
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 1    these videos, employees can be seen undergoing security check procedures as they
 2    enter and exit the facility. The defendant’s video footage can be used to calculate a
 3    number of items. For example, the number of people who entered and exited the
 4    security checkpoint in a day can be counted. Additionally, the amount of time an
 5    employee took to get through the defendant’s security check procedures can be
 6    calculated.    The time that individuals spent on activities such as REDACTED
 7                                                                                 can be calculated
 8    using the defendant’s video footage.
 9           14.    The amount of time that class members spent on the defendant’s
10    security check procedures can be represented as a range. For example, a minimum
11    time an employee spent undergoing the defendant’s security check procedures
12    could be the amount of time the employee REDACTED
13                                                                      . For employees REDACTED
14

15

16                                                                                                  .
17           15.    A higher end of the time range that an employee spent undergoing the
18    defendant’s security procedures could be calculated by the amount of time the
19    employee REDACTED
20                                                                                . This time could
21    include time employees REDACTED                                                  .
22           16.    The video footage provided by the defendant can be utilized to
23    illustrate this methodology. As mentioned, the defendant has provided video
24    footage REDACTED                                                . For example, the security
25    camera footage REDACTED
26                                                         . Time associated with the defendant’s
27    security check procedures can be determined utilizing this video footage. For
28    example, REDACTED
                                                      7
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 1    REDACTED           to undergo the defendant’s security checkpoint procedures.
 2           17.    The maximum of the time range can also be easily recorded. At
 3    REDACTED
 4                                                                                       for the
 5    defendant’s security check procedures. The video footage shows that the REDACTED
 6

 7                                             Similarly, at around REDACTED
 8                                                                                            the
 9    defendant’s security check procedures. The video footage shows that REDACTED
10

11                            There were REDACTED
12                                                                      .
13           18.    This type of video analysis could be refined and enlarged to include
14    additional UPS SCS video camera footage. My understanding is that UPS SCS
15    keeps the security camera footage from its security checkpoints for a limited period
16    of time. Utilizing camera footage that UPS SCS provides, this method could be used
17    to construct reasonable and reliable estimates of the time employees at UPS SCS
18    spent on the defendant’s security check procedures.
19

20    Time and Motion Study Method
21           19.    Similarly, a time and motion study could be used to determine the
22    amount of time class members spent undergoing the defendant’s security check
23    procedures. Information obtained from a time and motion study could be used as a
24    reliable basis to calculate economic damages for the alleged unpaid time of class
25    members.
26           20.    A proposed time and motion study for this matter has been presented
27    by Mr. Richard Donohoe. It is my understanding that in his expert declaration, Mr.
28    Donohoe details how he would conduct a time and motion study for the purposes
                                                      8
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 1    of analyzing the security check time for employees at UPS SCS sites.
 2           21.    In brief, Mr. Donohoe proposes a study of the security check
 3    procedures for UPS SCS sites, including an analysis of security guard policies. Mr.
 4    Donohoe proposes to start with an analysis of the available security videos and
 5    security procedures for the various UPS SCS sites. Mr. Donohoe proposes to re-
 6    enact the security procedures for UPS SCS sites, recording the amount of time it
 7    took for a similarly situated person to pass through the security checkpoint. Mr.
 8    Donohoe’s methodology would take into account factors such as the employee’s
 9    experience level and any special conditions such as REDACTED
10

11           22.    It is my understanding that the data that Mr. Donohoe collects from his
12    study would, among other things, show the total amount of time it took for a re-
13    enacting employee to pass through the security check of a UPS SCS facility. In
14    addition, Mr. Donohoe’s method would establish a low end and high range of
15    security check times.
16           23.    It is my opinion that Mr. Donohoe’s proposed time and motion study
17    would provide the data necessary to calculate damages in this case. Utilizing data
18    produced by Mr. Donohoe’s time and motion study, this method could be used to
19    construct reasonable and reliable estimates of the time employees at UPS SCS spent
20    on the defendant’s security check procedures. I have worked with time and motion
21    experts on similar types of cases involving allegations of unpaid off-the-clock work.
22    It is my opinion that statistically sound and reliable estimates of the amount of time
23    UPS SCS employees spent undergoing the defendant’s security check procedures,
24    and classwide economic damages, can be determined utilizing this method.
25

26    Survey Method
27           24.    Similarly, appropriate statistical sampling and surveying techniques
28    can be used to determine the amount of time class members spent undergoing the
                                                      9
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 1    defendant’s security check procedures at security stations. If instructed by the court,
 2    a survey could be conducted utilizing accepted statistical sampling methodologies.
 3    Such information could be used as a reliable basis to calculate economic damages
 4    for class members’ unpaid time.
 5           25.    Statistical sampling and surveying is neither controversial nor novel,
 6    and is generally accepted in the fields of economics and statistics. In this case,
 7    statistical sampling can be expected to produce scientifically reliable results and a
 8    low margin of statistical error. In his declaration for the court, Dr. Jeff Petersen has
 9    outlined a survey methodology to determine how long class members spent
10    undergoing security checks at UPS SCS sites. In brief, Dr. Petersen proposes
11    specific survey questions be asked of a statistically representative sample of class
12    members. It is my opinion that the questions that Dr. Petersen proposes for the
13    survey are designed in a manner consistent with Federal Judiciary guidelines on
14    survey evidence, statistical and economic principles, and survey science.
15           26.    It is my understanding that Dr. Petersen’s survey would be
16    administered to a statistically significant subset of class members. The significant
17    subset can be selected utilizing generally accepted and widely utilized statistical
18    principles and procedures. For instance, a simple random sampling methodology
19    may be appropriate in the current context. A simple, statistical random sample is
20    one where a subset of people from a statistical population (in this case, the class
21    members) is drawn, and drawn in such a manner that each member of the population
22    has an equal probability of being chosen.
23           27.    If appropriate, the representativeness of the sample could be further
24    modified to account for differences across employees, utilizing a stratified random
25    sampling methodology. A stratified random sample is one that divides an overall
26    population into distinct subgroups based on known factors, and then a random
27    sample is drawn of each subgroup.
28           28.     The sampling techniques described above are widely used and
                                                     10
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 1    generally accepted methodologies in the current context. Statistical sampling is not
 2    controversial, novel or burdensome, and is widely used in these types of situations
 3    by economists and statisticians. It has been my professional experience that this
 4    type of approach has been used in numerous similar settings. I have personally
 5    designed and implemented similar samples in numerous other wage-and-hour cases,
 6    including trials.
 7           29.    Utilizing the survey evidence proposed by Dr. Petersen, this method
 8    could be used to construct reasonable and reliable estimates of the time employees
 9    at UPS SCS spent on the defendant’s security check procedures. It is my opinion
10    that statistically sound and reliable estimates of the amount of time UPS SCS
11    employees spent undergoing the defendant’s security check procedures, and
12    classwide economic damages, can be determined utilizing this method.
13

14    Analysis and Calculations
15           30.    Calculating damages owed to class members for the alleged unpaid
16    time and for alleged interrupted meal and rest periods entails straightforward
17    calculations and would not be burdensome.            To perform this analysis, class
18    members’ time and payroll records would be utilized. It is my understanding that
19    employees logged the time they took for meal periods and rest breaks. The
20    defendant’s time and payroll data represents the time employees worked and were
21    paid for, absent the time the employees spent undergoing the defendant’s security
22    checks. Such records can be provided by UPS SCS for all class members for the
23    full class period. Constructing a full dataset of each employee’s time and payroll
24    records would not be burdensome, and can be done using statistical software
25    packages and programs.
26           31.    In addition, the amount of time it took class members to pass through
27    the security checkpoints at UPS SCS sites would be utilized. As was discussed, the
28    above three methods could be used to determine how long it took class members to
                                                     11
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 1    pass through security checks at UPS SCS sites.
 2           32.    Utilizing UPS SCS’ time and payroll records, the security check time
 3    would then be added to the employee’s recorded time worked on each day. Adding
 4    on the security check time in each of these instances for each day an employee
 5    worked can be done systematically, using statistical software packages and
 6    programs.
 7           33.    Once the additional time is added to each employee’s day, the analysis
 8    of damages owed to class members would be straightforward. The recorded times
 9    an employee worked would be compared to the recorded time after factoring in the
10    additional time the employee spent undergoing security checks at UPS SCS sites.
11           34.    This type of analysis could also assist in the determination of rest break
12    and/or meal period violation rates. For instance, for an employee who is taking a
13    rest break, the video footage could be used to determine if the employee had an
14    uninterrupted, legally compliant rest break. In this instance, the video timestamps
15    could be used to determine the ending and beginning of the employee’s rest break.
16    Meal periods could also be analyzed in a similar manner.
17           35.    This is a common methodology of calculating damages which could
18    be applied for all class members for each day in each year they worked for UPS
19    SCS.
20    ///
21

22    ///
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                                                     12
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 1    Conclusion
 2           36.    In short, it is my opinion that the class-wide economic damages can be
 3    reliably calculated in this case. Calculating damages owed to class members for the
 4    alleged unpaid time and for alleged interrupted meal and rest periods can be
 5    determined utilizing several generally accepted methodologies: the defendant’s
 6    security videos, a time and motion study, and/or class wide surveys. Reliable class
 7    wide damages can be derived utilizing the security check time obtained from these
 8    methodologies, and class members’ time and payroll records.
 9           37.    I declare under penalty of perjury under the laws of the United States
10    of America that the foregoing is true and correct. Executed on this January 14, 2021
11    at Austin, Texas.
12

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                                                           Dwight D. Steward
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                             EXHIBIT A
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       Ayala, et al. v. UPS Supply Chain Solutions, Inc.   Decl. Steward in Support of Motion for
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 1    Exhibit A: Documents
 2    Num. Description
 3    1.    Consolidated Class Action Complaint dated May 1, 2020
 4    2.    REDACTED
 5    3.    REDACTED
 6    4.    REDACTED
 7    5.    REDACTED
 8    6.    REDACTED
 9    7.    REDACTED
10    8.    REDACTED
11    9.    REDACTED
12    10.   REDACTED
13    11.   REDACTED
14    12.   REDACTED
15    13.   REDACTED
16    14.   REDACTED


17

18    15.   REDACTED


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20    16.   REDACTED


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22    17.   REDACTED
23    18.   REDACTED
24    19.   REDACTED
25    20.   REDACTED
26    21.   REDACTED
27    22.   REDACTED
28    23.   REDACTED



                                      Exhibit A – 1
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 1    24.   REDACTED
 2    25.   Expert Declaration of Richard Donahoe, January 14, 2021.
 3    26.   Declaration of Jeffery S. Petersen, Ph.D. in support of Plaintiff’s motion for
 4          class certification, January 13, 2021.
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                                         Exhibit A – 2
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                             EXHIBIT B
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                                   Curriculum Vita
                                 Dwight Steward, Ph.D.


                       Dr. Steward is an economist and principal of EmployStats. EmployStats
                       is a boutique economic consulting firm that provides economic research
                       and expert witness services to legal, government, and business
                       communities nationwide. EmployStats specializes in large data analysis
                       projects involving wage and hour and employment class action lawsuits,
                       injury and death litigation, consumer mass torts, and commercial
                       lawsuits. EmployStats has been successfully in business since 1997 and
                       has offices in Austin, Texas and Palo Alto, California

 Dr. Steward has provided consultation, expert reports and testimony in hundreds of cases
 nationwide. He has provided testimony on issues involving mitigation and economic damages
 in employment lawsuits, wage and hour and FLSA liability and damages, statistical analysis of
 discrimination, and economic damages of individuals and businesses.

 Dr. Steward is an active community member and serves in a number of leadership positions.
 He is currently on the Board of Directors of The Boys and Girls Club of Austin and serves as the
 Midwest Vice President of the National Association of Forensic Economics. He is also a
 member of the Texas A&M University Statewide Police Racial Profiling Task Force and an
 former President of the University of Texas at Austin Army ROTC Alumni Association.

 Dr. Steward is the author of three professional economics textbooks and was previously a
 Senior Lecturer in the Economics department at The University of Texas at Austin and was a
 Visiting Assistant Professor in the Finance Department in the College of Business at Sam
 Houston State University in Huntsville, Texas. He served stateside in the U.S. Army as an Field
 Artillery Officer during Operation Desert Storm and in the U.S. Army Reserves. He obtained the
 rank of 1st Lt. and received an honorable discharge following the completion of his service.

 Dr. Steward holds a Ph.D. in Economics from the University of Iowa, and a B.A. in Economics
 from the University of Texas at Austin. He completed his K-12 schooling in San Antonio, Texas.




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                                                                                               1
                                        EXHIBIT B - 1
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             Presentations and Public Speaking Engagements
                                (Updated September 1, 2020)


  National Employment Lawyers Association’s (NELA’s) 2020 Virtual Convention, “When To
  Use Experts In Employment Cases”, Online (Virtual Panel), July 10, 2020.


  Practising Law Institute (PLI) Wage & Hour Litigation and Compliance 2020, “Calculating
  Time Worked and Damages in Wage & Hour Cases”, New York, New York, January 28,
  2020


  Western Economic Association International 94th Annual Conference, “NAFE Session 1:
  Statistical, Survey, And Data Issues In Wage And Hour Cases”, San Francisco, California,
  June 29, 2019


  Professional Liability Underwriting Society (PLUS) Hartford Chapter EPLI Seminar,
  “#MeToo, Pay Equity and ‘What’s Behind Door #3’ - Taking the Mystery and Misery Out of
  Damages in Employment Matters”, June 6, 2019


  National Employment Lawyers Association Spring Seminar, Epic Advocacy: Protecting
  Wages In Litigation & Arbitration, “Calculating Damages: Views From An Expert, An FRE
  1006 Summary Witness, And Lawyers”, Denver, Colorado, April 13, 2019


  University of Baltimore Big Data CLE Seminar, “Data Analytics in Complex Litigation”,
  Baltimore, Maryland, April 5, 2019


  American Economics Association Annual Meeting, “Stationarity Tests and Margin of Error
  in Forensic Economics”, Atlanta, Georgia, January 4, 2019


  Economics/Liberal Arts Career Forum at The University of Texas, Austin, Texas, November
  2, 2018




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  Employment Law CLE Seminar, “Surveys in Class Action Wage and Hour Cases”, San
  Francisco, California, October 3, 2018


  Employment Law CLE Seminar, “California Fair Pay Act”, San Francisco, California,
  October 16, 2017


  Eastern Economics Association Conference, “Risk Shifting by Employee Terminations and
  Layoffs”, Discussant, New York City February 2017


  American Economics Association Annual Meeting, “Pitfalls of Forensic Economic Analysis:
  Employment”, San Francisco, California, January 3, 2016


  Eastern Economics Association Conference, “Extending the Econometric Model of Worklife
  Expectancy”, New York, New York, February 27, 2015


  Employment Law CLE, “What is wrong with this paycheck? Investigating allegations of
  FSLA and wage and hour violations using payroll, time and personnel records”, San
  Francisco, California, March 6, 2014


  Employment Law CLE, “What is wrong with this paycheck? Investigating allegations of
  FSLA and wage and hour violations using payroll, time and personnel records”, Oakland,
  California, March 5, 2014


  Employment Law CLE, “What is wrong with this paycheck? Investigating allegations of
  FSLA and wage and hour violations using payroll, time and personnel records”, Century
  City, California, January 30, 2014


  Fulbright & Jaworski LLP, “Use of Economic Experts in Employment Litigation”, Houston,
  Texas, April 18, 2013


  Southern Economic Association Conference, “Economic Damage Valuations in South
  Africa”, New Orleans, Louisiana, November 17, 2012




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  Houston Bar Association, Employment Section “Back Pay and Front Pay Calculations in
  Employment Termination”, Houston, Texas, March 12, 2012


  Allied Social Science Association Conference, Forensic Economics II “Household Services
  Production in Mexico”, Chicago, Illinois, January 7, 2012


  Texas Labor & Employee Relations Consortium hosted by CenterPoint Energy, “Employee
  Labor Unions and EEO Compliance”, Houston, Texas, June 9, 2011


  Allied Social Science Association Conference, “Using Economic, Statistical and Time Clock
  Evidence in Wage and Hour and Employment Lawsuits”, Chicago, Illinois, April 2011


  Employment Law CLE, “Using Economic, Statistical and Time Clock Evidence in Wage and
  Hour and Employment Lawsuits”, San Francisco, California, March 4, 2011


  Southern Economic Association Conference, “Calculating Economic Damages for
  Previously Incarcerated Individuals”, Atlanta, Georgia, November 21, 2010


  Employment Law CLE, “Using Economic, Statistical and Time Clock Evidence in Wage and
  Hour and Employment Lawsuits”, Houston, Texas, October 21, 2010


  Dallas Bar Association’s Friday Clinic, “Valuing Economic Damages in Injury, Wrongful
  Death and Employment Cases”, Dallas, Texas, September 10, 2010


  American Association of Justice Annual Convention, “Evaluating Damages for the
  Incarcerated”, Vancouver, Canada, July 2010


  Academy of Economics and Finance, 37th Annual Meetings, “Valuing Employee Stock
  Options in a Breach of Contract Case”, Houston, Texas, February 2010


  American Economic Association Meetings, “Valuing Employee Stock Options in a Breach of
  Contract Case”, Atlanta, Georgia, January 2010



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  Capital Area Paralegal Association CLE, “Valuing Economic Damages in Injury, Wrongful
  Death and Employment Cases”, Austin, Texas, October 28, 2009


  UT CLE, The 15th Annual Labor and Employment Law Conference, Austin, Texas, May 29
  - 30, 2008




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                               Writing and Publications
                                (Updated September 1, 2020)


  “Big Data Analytics in U.S. Courts: Uses, Challenges, and Implications”, Palgrave Pivot
  Publishing, December 2019


  “Statistical Analysis of Employment Data in Discrimination Lawsuits and EEO Audits: A
  statistical guide for attorneys, human resource professionals and EEO compliance
  personnel”, Econometrics Publishing, February 2010


  “Back Pay and Front Pay Calculations in Employment Termination Cases: Accounting for
  re-employment and mitigation efforts” (Joint with Stephanie Botello, Ph.D.), 2008, available
  at Social Science Research Network


  “Economic Damages Primer for Attorneys: The building blocks for valuing economic
  damages in personal injury, wrongful death, medical malpractice, and products liability
  cases”, (Joint with Charles Mahla, Ph.D., Michael Sadler, Ph.D., Chad Shirley, Ph.D., Doug
  Berg, Ph.D., et al.), Econ One Research, Inc., September 2007


  "How Long do Mexican Migrants Work in the U.S.?" (Joint with Amy Raub and Jeannie
  Elliott), Journal of Forensic Economics, Volume XIX No. 2


  “Evaluating the Statistical and Economic Significance of Statistical Evidence in Employment
  Discrimination Cases, Expert Evidence Report”, The Bureau of National Affairs, Inc., Vol. 5,
  No. 5; p. 117-119; March 7, 2005 and March 23, 2005


  “Racial Differences in Interest Rates”, Midwestern Business and Economic Review, p. 9 –
  24, Number 34, Fall 2004


  “Lies, Damn Lies, and Statistics: A View from a Statistical Expert”, Texas State Bar
  Advanced Employment Law CLE Chapter 13.1, 2003



  “Evaluating Statistical Evidence in Employment Discrimination Cases”, Expert Evidence

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  Report, Bureau of National Affairs, p. 117-119.


  “An Examination of Consent Searches and Contraband Hit Rates at Texas Traffic Stops”,
  (Co-Authored) Technical Report Prepared for NAACP, LULAC, and Texas Criminal Justice
  Reform Coalition 2005


  “Racial Profiling: Texas Traffic Stops and Searches; A first look at the nation’s most
  comprehensive racial profiling dataset”, (Co-Authored) Technical Report Prepared for
  NAACP, LULAC, and Texas Criminal Justice Reform Coalition, 2004


  “Re-Zoning Austin’s West Campus: A Unique Opportunity for Smart Growth”, Technical
  Report Prepared for the University Area Partners, 2004


  “Drug Treatment Programs and Cost Savings in the Texas State Criminal Justice System”,
  Technical Report Prepared for Justice Policy Institute and NAACP Voter Fund, 2003


  “A Statistical Methodology to Help Courts Select Racially Balanced Texas Juries”,
  Technical Report Prepared for the NAACP, 2003


  “A Re-examination of Police Racial Profiling Using the Becker Model of Discrimination”,
  co-authors Doug Berg and John Maroney, Working paper, 2002


  “A Fixed-Effects Discrete Choice Model of Racial Profiling in Police Vehicle Searches”,
  Working Paper, 2002


  “A Preliminary Examination of Racial Profiling in Texas: A look at Police Search Rates in
  Texas”, (Co-Authored), Technical Report Prepared for the NAACP, 2000


  “A Note: Bootstrap Standard Errors and Confidence Intervals for Weak Axiom of Cost
  Minimization (WACM) Based Managerial Efficiency Estimates”, Published Applied
  Economics Letters V.2., 1998


  “Bank Mergers and Cost Efficiency”, Ph.D. Dissertation, University of Iowa, 1995



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  “Racial Differences in Interest Rates: A Cluster Analysis Approach”, Co-authors Doug Berg
  and Donald Bumpass (SHSU) (2002), Paper accepted for presentation at Economics and
  Finance Association, February 2003 meeting in Savannah, Georgia.




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                             Expert Witness Testimony
                                (updated January 1, 2021)

  Kamelia Dianati v. Baton Holding, LLC F/K/A Bankrate, Inc., and Samuel Bagot, In the
  District Court of 345th Judicial District Travis County, Texas; deposition testimony,
  December 2020. Cause No. D-1-GN-19-001710


  Sephora Wage and Hour Cases, In the Superior Court of California for the County of San
  Francisco; deposition testimony, July 2020. Case No. CJC-16-004911


  Arden Rutta, individually and as Executrix of the estate of James Rutta, deceased, and
  Christi Young, individually and as wrongful death beneficiary of James Rutta v. J-W Power
  Company, Jamex Inc. and Texline Energy, LLC, In the District Court of Dallas County, TX
  192nd Judicial District; deposition testimony, March 2020. Cause No. DC-18-00205


  Ronnie Villaneueva v. Juan Fernandez, Roberto Verduzco, and the Cincinnati Insurance
  Company, In the District Court of Maverick County, Texas 293rd Judicial District; trial
  testimony, January 2020. Cause No. 18-10-36490-MCV


  James Meek v. Equinor US Operations LLC, successor in interest to Statoil Gulf Services
  LLC, In the District Court of Harris County, Texas 269th Judicial District; deposition
  testimony, October 2019. Cause No. 2018-35054


  Allison Spruill v. Daniel Fortes, M.D., Cardiothoracic and Vascular Surgeons, P.A., John
  Williams, M.D., and Austin Radiological Associates, In the District Court of Travis County,
  Texas 261st Judicial District; deposition testimony, September 2019. Cause No.
  D-1-GN-17-001349


  John David Donahey III v. Progressive County Mutual Insurance Company and Federal
  Insurance Company, In the District Court of Travis County, Texas 459th Judicial District;
  deposition testimony, September 2019. Cause No. D-1-GN-17-006093


  Juan Ramiro Perez v. Communities In Schools, In the District Court of Cameron County,
  Texas 107th Judicial District; trial testimony, September 2019. Cause No. 2018-DCL-03830




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  United States of America v. City of Houston, United States District Court for the Southern
  District of Texas Houston Division; deposition testimony, July 2019. Civil Action No.
  4:18-cv-00644


  Nicole Perkins and Thomas Perkins, Individuals, and Anastasia Perkins, a minor who sues
  by and through her Parents and Next Friends, Nicole Perkins and Thomas Perkins v.
  James Allen Newton, M.D., An Individual; Lynn Keith Whittington, M.D., an Individual;
  Alabama Neonatal Medicine, P.C., a Corporation, et al., In the Circuit Court for Montgomery
  County, Alabama; deposition testimony, July 2019. Civil Action No. 201899342


  Jonathan Langley v. International Business Machines Corporation, United States District
  Court for the Western District of Texas; deposition testimony, July 2019. Civil Action No.
  1-18-cv-443


  Debra Deluna, Individually and as Personal Representative of the Estate of Joseph Deluna,
  Deceased; and Ashton Thorn, as Legal Guardian of Tena Aubrey Deluna, minor v.
  Espinoza Stone, Inc., Espinoza Stone, Inc. DBA ESI Trucking, Jose J. Espinoza, Gabriel
  Hernandez and John and Jane Does 1-10, District Court of Williamson County, Texas
  425th Judicial District; deposition testimony, June 2019. Cause No. 17-1249-C425


  Doug Boram and Monica Boram, Individually and As Next Friends of Bryce Boram, a minor
  v. Tara A. Mills, MD, Renaissance Women’s Group P.A., and St. David’s Healthcare
  Partnership, L.P., LLP, d/b/a St. David’s North Austin Medical Center, 98th Judicial District
  Court of Travis County, Texas; deposition testimony, May 2019. Cause No.
  D-1-GN-12-001699


  Michael Gomez and Nora Gomez v. David A. Nation, M.D., and Cardiothoracic and
  Vascular Surgeons, P.A., District Court Travis County, Texas 200th Judicial District;
  deposition testimony, April 2019. Cause No. D-1-GN-18-001895


  Karen Miniex v. Houston Housing Authority, United States District Court for the Southern
  District of Texas Houston Division; trial testimony, March 2019. Civil Action No.
  4:17-CV-00624


  Estela Ruiz, individually and on Behalf of All Other Similarly Situated Employees of
  Defendants v. Jack in the Box, Inc; Yadav Enterprises, Inc. (fka JIB Management, Inc.);
  Parivar, Inc.; Akkam, Inc.; Amanat, Inc.; Anil Yadav; Av, Inc.; Nor-Cal Venture Group, Inc.;
  Resham, Inc.; Reshiv, Inc.; Vanil, Inc.; Vanmel, Inc.; Vansh, Inc.; Varris management, Inc.;
  Yadav, Inc.; and Does 14 through 100, inclusive, Superior Court of the State of California In
  and For the County of Alameda; deposition testimony, February 2019. Case No.
  RG16807477


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  Marisa Rangel And Jerrid Jeter, Sr., individually and as Parents and Next Friends of Jerrid
  Jeter-Gilmon, Jr., a Minor v. Jenifer Kowalik, M.D., Jenifer Kowalik, MD PA, Jenifer
  Kowalik, MD PA D/B/A Centex Family and ObGyn Associates, and Central Texas Medical
  Center Inc, District Court of Hays County, Texas, 428th Judicial District; deposition
  testimony, January 2019. Cause No. 15-1154


  Tracy Chen and Matthew Lucadano, as Aggrieved Employees v. Morgan Stanley Smith
  Barney, LLC, and Does 1 through 20, inclusive; Superior Court of California County of
  Orange; deposition testimony, January 2019. Case No. 30-2014-00724866-CU-OE-CXC.


  Kimberly Hudson, and Thomas Earl Jackson, Jr., as Temporary Guardians of Kendric
  Jackson, an Incapacitated Person v. Canadian National Railway Company; Mississippi
  Export Railroad; Illinois Central Railroad Company; Illinois Central Corporation; Grand
  Trunk Corporation, David W. Myers; and Diamante Jamarcus Lockhard; United States
  District Court for the Southern District of Alabama Southern Division; deposition testimony,
  October 2018. Action No. CV-2017-091162.00.


  Donald Clynes v. City of Brownsville; District Court 107th Judicial District Cameron County,
  Texas; deposition testimony, August 2018. Cause No. 2017-DCL-07638.


  Michael Chatterton v. Beelman Ready Mix, Inc.; Circuit Court of the Twentieth Judicial
  Circuit St. Clair County, Illinois; trial testimony, August 2018. Cause No. 14-L-221.


  Latoya Brown; Lawrence Blackmon; Herbert Anthony Green; Khadafy Manning; Quinnetta
  Manning; Marvin Mcfield; Nicholas Singleton; Steven Smith; Bessie Thomas; and Betty
  Jean Williams Tucker, individually and on behalf of a class of all others similarly situated v.
  Madison County, Mississippi; Sheriff Randall S. Tucker, in his Official capacity; and
  Madison County Sheriff’s Deputies John Does #1 through #6, in their Individual capacities;
  United States District Court Southern District of Mississippi Northern Division; deposition
  testimony, June 2018. Civil Action No. 3:17-cv-347WHB-LRA.


  Michael Chatterton v. Beelman Ready Mix, Inc.; Circuit Court of the Twentieth Judicial
  Circuit St. Clair County, Illinois; deposition testimony, June 2018. Cause No. 14-L-221.


  U.S. Equal Employment Opportunity Commission v. JC Wings Enterprises, LLC, JC Wings,
  LTD, JG Investments Enterprises, LLC, JG Investments, LTD, CK1 Enterprises, LLC, and
  Ten Lbs, LTD d/b/a Bayou City Wings, In the United States District Court Southern District
  of Texas Houston Division, deposition testimony, June 2018. Civil Act No. 4:16-CV-03245.




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  William M. Parrish and Margaret Parrish v. Ean Holdings, LLC and Andrea Valverde, In the
  District Court Travis County, Texas 200th Judicial District, trial testimony, June 2018.
  Cause No: D-1-GN-17-000413.


  William M. Parrish and Margaret Parrish v. Ean Holdings, LLC and Andrea Valverde, In the
  District Court Travis County, Texas 200th Judicial District, deposition testimony, May 2018.
  Cause No: D-1-GN-17-000413.


  Cora Greene v. Kempner Water Supply Corporation, In the District Court 27th Judicial
  District Lampasas County, Texas, deposition testimony, May 2018. Cause No. 20315.


  Zulema Perez San Miguel, Individually; as Independent Administrator of the Estate of Kevin
  Daniel San Miguel Lopez; and as Next Friend of Julissa San Miguel; Kevin San Miguel, Jr;
  and Noah San Miguel v. Clean Scapes Management Company, LLC; Goodwill Temporary
  Services, Inc., d/b/a Goodwill Staffing Group, Inc., Bae Systems information and Electronic
  Systems Integration, Inc., and Scag Power Equipment, Inc., In the District Court of Travis
  County Texas 53rd Judicial District, deposition testimony, April 2018. Cause No.
  D-1-GN-16-005140.


  Estate of Jordan Baker, by and through administrator, Janet Baker v. Juventino Castro, The
  City of Houston, RPI Management Company, LLC, and RPI Interests I, LTD, In the United
  States District Court Southern District of Texas Houston Division, deposition testimony
  February 2018. Cause No. 4:15-cv-3405.


  Balapuwaduge Mendis, on his own behalf and on behalf of all others similarly situated v.
  Schneider National Carriers, Inc., a Nevada Corporation, United States District Court
  Western District of Washington, deposition testimony February 2018. Cause No.
  2:15-cv-00144-JCC.


  Richard Patton v. Houston Independent School District, In the District Court of Harris
  County, Texas 295th Judicial District, deposition testimony January 2018. Cause No.
  2016-51917.


  Mandy Thompson and Kevin Torrez, individually and as next friends and representatives of
  Ayden Torrez, a minor v. St. David’s Healthcare Partnership, L.P., LLP, d/b/a St. David’s
  Medical Center; Jeff E. Hagen, M.D.; Jeff E. Hagen, M.D., P.A., d/b/a Austin OBGYN; and
  Maria E. Gutierrez, RNC, NP, MSN, In the District Court Travis County, Texas 353rd
  Judicial District, deposition testimony January 2018. Cause No. D-1-GN-14-005096.




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  Jose Luis Alcantar, on behalf of himself and all others similarly situated v. Hobart Service,
  Hobart Food Equipment Group, Itw Food Equipment Group, LLC, and Does 1 through 100,
  inclusive, United States District Court, Central District of California, deposition testimony
  December 2017. Cause No. 5:11-CV-1600-PSG (SPx).


  Karen Cunningham, Individually, as Heir at Law, and as Representative of the Estate of
  Steven Cunningham, Deceased; Sami Staley; Beatrice Cunningham; Jonathan Vigil;
  Andrew Tkaczyk; Zachary Johnson; James Riley; Timothy Irons; Charles Billings; Nathan
  Wilden; Christopher Davis; and Armando Cardona; and Daniel Luppino v. Nikki Hoke, as
  Representative of the Estate of Gregory M. Hoke, Deceased; Bordur Studios Coach
  Leasing LLC; and Big Sexy Grey Bus LLC; and Nikki Hoke, Individually, as Representative
  of the Estate of Gregory M. Hoke, Deceased, and as Next Friend of E.H. and H.H., minor
  children of Gregory M. Hoke, Deborah Hoke, Individually, and Russel Hoke, Individually v.
  Bridgestone Americas Tire Operations, LLC, a foreign Company which is the successor to
  Bridgestone/Firestone North American Tire, LLC, In the District Court of Hudspeth County,
  Texas 394th Judicial District, deposition testimony November 2017. Cause No.
  CV-04569-394.


  Jose F. Andino, individually and on behalf of himself and others similarly situated v. Kaiser
  Foundation Hospitals, a California Corporation, and Does 1 through 100, inclusive, Superior
  Court of the State of California For the County of Alameda, deposition testimony October
  2017. Case No. RG11580548.


  Jeffrey Fadness v. Charter Communications, Inc., In the District Court Travis County, Texas
  261st Judicial District, deposition testimony October 2017. Cause No. D-1-GN-17-000119.


  Paris Shoots, Jonathan Bell, Maxwell Turner, Tammy hope, Phillipp Ostrovsky, Brenda
  Brandt, Anissa Sanders, Najai McCutcheon, and Leticia Rodriquez, on behalf of
  themselves, the Proposed Rule 23 Classes and others similarly situated, v. IQOR Holdings,
  Inc., United States District Court District of Minnesota, deposition testimony August 2017.
  Case No. 0:15-cv-00563-SRN-SER.


  Timothy K. Sargis and Dawn M. Sargis, Individually and as Next Friends of Madisyn Marie
  Loher, A Minor and as Personal representatives of the Estate of Michelle Loher, and Gary
  S. Loher, II v. HS Centex Trucking, LLC, Kevin Clay and USAA General Indemnity
  Company, In the District Court Coryell County, Texas 52nd Judicial District March 2017.
  Cause No. DC-16-44861.




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  Stacey Burkhart and Brandon Burkhart Individually and As Parents and Next Friends of
  Austin Burkhart, a Minor v. United Regional Health Care System, Inc. d/b/a United Regional
  Hospital, United Regional Hospital, Texoma Women’s Clinic, P.A. d/b/a The Women’s
  Center, and Lawrence Y.H. Young, M.D., In the District Court 78th Judicial District Wichita
  County, Texas November 2016. Cause No. 178046B.


  Troy Slack, Jacob Grismer, Richard Erickson, Scott Praye, Gary H. Roberts, Robert P.
  Ullrich, Henry Ledesma, Timothy Helmick, Dennis Stuber, Eric Dublinkski, Sean P. Forney
  v. Swift Transportation Co., of Arizona, LLC., United States District Court Western District
  of Washington at Tacoma, deposition testimony November 2016. Case No.
  3:11-cv-05843-BHS.


  Richard Trusz v. UBS Realty Investors LLC and UBS AG, United States District Court
  District of Connecticut, deposition testimony September 2016. Civil Action No. 3:09-CV-268
  (DJS).


  Amy L. Schneider and Janet E. Breneman, individually and on behalf of others similarly
  situated, v. Union Hospital, Inc., United States District Court Southern District of Indiana
  Terre Haute Division, deposition testimony June 2016. Case No. 2:15-cv-204-JMS-DKL.


  Corey Khansari, Debra Khansari and Michael Khansari v. The City of Houston, Chief of
  Police Charles A. McClelland, Jr., Officer William E. Rutherford, Officer Candace M.
  Bradshaw Vaughn, Officer Jillian McGowan, Officer Maria Hernandez, Officer Sean Hunter,
  Officer Jorge Luis Herrera, and Officer Walter Gaw, United States District Court Southern
  District of Texas Houston Division, trial testimony April 2016. Civil Action No.
  4:13-CV-02722.


  Donald and Mary Trichel, individually and as Next Friends of Nicholas Trichel v. Union
  Pacific Railroad Company and Jeremy Ray Hampton, In the District Court of Harris County,
  Texas 125th Judicial District, deposition testimony April 2016. Cause No. 2014-23177.


  Virginia Nester and Robert Scott Nester, Individually and As Next Friends of C.N. and S.N.,
  Minors v. Textron, Inc. d/b/a E-Z-GO United Rentals, Inc. f/k/a RSC Holdings, Inc. and/or
  RSC Equipment Rental, In the United States District Court for the Western District of Texas
  Austin Division, trial testimony March 2016. Case No. 1:13-CV-000920-LY.


  Chris Elliott O/B/O Himself and O/B/O All Other Similarly Situated, v. Schlumberger
  Technology Corporation and Schlumberger Limited (Schlumberger N.V.), United States
  District Court for the District of North Dakota Southeastern Division, deposition testimony
  March 2016. Civil Action No. 3:13-cv-00079.



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  United States of America, ex rel. Louis Scutellaro v. Capitol Supply, Inc., United States
  District Court District of Columbia, deposition testimony February 2016. Civil Action No.
  10-cv-1094 (BAH).


  Monica Hague v. University of Texas Health Science Center at San Antonio, In the United
  States District Court for the Western District of Texas San Antonio Division, trial testimony
  January 2016. Civil Action No. SA-11-CA-1101-OG.


  Arleen Delaronde v. Legend Classic Homes, Ltd., Bella Vista C.M.I., Ltd., In the United
  States District Court for the Southern District of Texas Houston Division, trial testimony
  December 2015. Civil Action No. 4:14-cv-1578.


  Genoveva Guzman and Abel Ochoa, Individually and as Parents and Next Friend of Maria
  Guadalupe Ochoa v. Tenet Healthcare Corporation, Hughan Frederick, M.D., Isis
  Obstetrics & Gynecology, LLC, A. Ellery, RN, North Fulton Hospitalist Group, LLC D/B/A
  North Fulton Regional Hospital A/K/A Tenet North Fulton Hospital, and John Does 1-10, In
  the State Court of Fulton County, State of Georgia, deposition testimony September 2015.
  Civil Action No. 13EV018499E.


  Jose Arellano and Juan Montoya, individually, and on behalf of all others similarly situated
  v. Container Connection of Southern California, Inc., a California Corporation; and Does 1
  through 100, Superior Court of the State of California for the County of Los Angeles,
  deposition testimony September 2015. Case No. BC500675.


  Monica Hague v. University of Texas Health Science Center at San Antonio, In the United
  States District Court for the Western District of Texas San Antonio Division, deposition
  testimony August 2015. Civil Action No. SA-11-CA-1101-OG.


  Jesus Holguin, Individually and o/b/o The Estate of Maria E. Holguin, Deceased, Estevan
  A. Gonzales, Jesus Ramon Holguin and Kassandra M. Holguin, Minor Children v. Baptist
  St. Anthony Health System, In the District Court of Potter County, Texas, deposition
  testimony July 2015. Case No. 101,910-D.


  Fred Devries, Ruby Teich, Janine Natoli, Rafael Santiago, Mark Malter, Adam Schwartz,
  individually and on behalf all others similarly situated v. Morgan Stanley & Co. LLC, f/k/a
  Morgan Stanley & Co. Incorporated, Morgan Stanley Smith Barney LLC, and Morgan
  Stanley, In the United States District Court for the Southern District of Florida, deposition
  testimony July 2015. Case No. 9:12-cv-81223-KAM




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  Mark Virant v. Encana Oil & Gas (USA), Inc. and Eric Marsh, Individually, In the District
  Court of Tarrant County, Texas 153 Judicial District, deposition testimony July 2015. Case
  No. 153-266960-13.


  Virginia Nester and Robert Scott Nester, Individually and As Next Friends of C.N. and S.N.,
  Minors v. Textron, Inc. d/b/a E-Z-Go, United Rentals, Inc. f/k/a RSC Holdings, Inc. and/or
  RSC Holdings, Inc. and/or RSC Equipment Rental, In the United States District Court for
  the western District of Texas Austin Division, deposition testimony June 2015. Case No.
  1:13-CV-000920-LY.


  Lisa Rindfleisch, Tiffany Melendez, Michelle Gentile, Laurie Baker and Christina Nelmes,
  on behalf of themselves and other similarly situated, v. Gentiva Health Services, Inc., In the
  United States District Court for the Eastern District of New York, deposition testimony June
  2015. Civil Action No. 1:10-CV-3288-SCJ.


  Karen Oubre, Individually and o/b/o The Estate of Larry Oubre, Deceased v. Kyle Mezger,
  M.D.; Christopher Thu, M.D.; and Capitol Anesthesiology Association, In the District Court
  of Travis County, Texas 126th Judicial District, Texas deposition testimony May 2015.
  Cause No. D-1-GN-14-000383.


  Weird Times, LLC v. Sharon Ma and Doug Ma, In the District Court 353rd Judicial District
  Travis County, Texas, trial testimony March 2015. Cause No. D-1-GN-12-001076.


  Armida Rodriguez and Chea Hill, individually, and on behalf of all other similarly situated
  and on behalf of the general public, v. Burlington Coat Factory Warehouse Corporation, a
  New Jersey Corporation; Burlington Coat Factory of California LLC, a California Limited
  Liability Company; and Does 1 through 50, inclusive, United States District Court - Central
  District    of California,   deposition     testimony    February   2015.     Case      No.
  2:13-cv-02426-DDP-RZ.


  Guang Tian, Yan Nie, Jing Jian Wu, Zhen Sheng Yin, Tie Quan Ma, as individuals, and
  Ming Fang Tie, Yu Hong Chang, Yi Wu, Bao Jie Zhang, Chao Hui Liu, on Behalf of
  Themselves and all others similarly situated, and Christopher Cavaliere and Steven Lee, on
  behalf of themselves and as PAGA representatives v. Ma Laboratories, Inc., Abraham C.
  Ma, also known as Chih Keng Ma, and Christine Rao, also known as Ruiting C. Rao,
  Superior Court of the State of California County of Santa Clara Unlimited Jurisdiction,
  deposition testimony January 2015. Case No. 1-11-CV-195373.




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  Uzoamaka Enezuagu; Yoseph Awlachew; Kiflom Birhane; Desalgne Zema; Simon
  Gebrekiros; Jacqueline Jackson; Abebech Kassie; Abdou Ouedraogo; Raquel Pryce-King;
  Ephrem Tessema; Yonas Woldemicael; Shamara Wright; Helen Zegeye; Alemayehu
  Zeleke; Jekeia Sledge; Ann-Marie Glanville; Alex Garrett; Sara Kebeta; Getnet Retta;
  Emmanuel Vincent; Tatek Zema v. Board of Trustees of the University and Does 1 through
  10 inclusive, Superior Court of the District of Columbia Civil Division, deposition testimony
  November 2014. Case No. 2013-CA-2219-B.


  Sergio Gutierrez, an individual; Hector Salazar, an individual, both individually on behalf of
  themselves and on behalf of all other similarly situated current and former employees of
  Defendant Commerce Casino v. California Commerce Club, Inc. doing business as
  Commerce Casino, and Does 1 through 50, inclusive, Superior Court of the State of
  California for the County of Los Angeles, deposition testimony November 2014. Case No.
  BC360704.


  Yvette Anderson, et al., v. County of Ventura; and Does 1-10, inclusive, United States
  District Court, Central District of California, deposition testimony July 2014. Case No.
  CV13-03517-STO (VBKx).


  Jesus Castro Romo v. The United States of America, United States District Court, District of
  Arizona, trial testimony July 2014. Case No. CV12-0041-RCC.


  Ngan Huynh and Tuan M. Nguyen Individually and As Parents, Legal Guardians and Next
  Friends of Jonathan Nguyen, A Minor v. St. David’s Healthcare Partnership, L.P.; LLP
  Individually and d/b/a St. David’s North Austin Medical Center a/k/a North Austin Medical
  Center; Round Rock Hospital, Inc.,; St. David’s Foundation p/k/a St. David’s Health Care
  System, Inc.,; Renaissance Women’s Group, P.A.; Tara A. Mills, M.D.; Devin M. Garza,
  M.D.; Kristen Barkow a/k/a Kristen Calnan, NP, In the District Court Travis County, Texas,
  200th Judicial District, deposition testimony July 2014. Cause No. D-1-GN-11-002142.


  Veronica Ochoa Valenzuela and Cesar De Viana, husband and wife v. Ford Motor
  Company, a Foreign Corporation, In the United States District Court for the District of
  Arizona, trial testimony May 2014. Case No. 15-16388.


  Johnson, et al v. York Claims Service, Inc., Superior Court of the State of California in and
  for the County of Sacramento, trial testimony May 2014. Case No.
  34-2008-00008447-CU-OE-GDS.


  Michael Mercieca v. Tracey Rummel, and Microsoft Corporation, In the District Court 353rd
  Judicial District Travis County, Texas, trial testimony May 2014. Cause No.
  D-1-GN-11-001030.


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  Johnson, et al v. York Claims Service, Inc., Superior Court of the State of California in and
  for the County of Sacramento, deposition testimony April 2014. Case No.
  34-2008-00008447-CU-OE-GDS.


  Yadira Hernandez v. R.E.S.A., Inc., d/b/a Keller Williams Realty and Carolina Salcedo
  Cuevas, In the District Court 131st Judicial District, Bexar County, Texas, trial testimony
  April 2014. Cause No. 2011-CI-05812.


  Charles E. Amos, II v. Plan Administrator of Orion Healthcorp, Inc., Employee Benefit
  Plans, Orion Healthcorp, Inc., Employee Benefit Plans, Orion Healthcorp, Inc., RMI
  Physician Services Corporation, Chi T. “Cindy” Luu, Kimberly Singleton, RMI Physician
  Services Corporation Employee Benefit Plans, Plan Administrator of RMI Physician
  Services Corporation Employee Benefit Plans, In the United States District Court for the
  Southern District of Texas Houston Division, deposition testimony April 2014. Case No.
  4:11-CV-04623.


  Gerald Bramlett, v. Dimensional Investment LLC before the American Arbitration
  Association, Austin, Texas, arbitration testimony February 2014. Case No. 70-160-202-13.


  Gerald Bramlett, v. Dimensional Investment LLC before the American Arbitration
  Association, Austin, Texas, deposition testimony December 2013. Case No.
  70-160-202-13.


  Renee M. Hawkins, Individually and on behalf of others similarly situation v. Alorica,
  Incorporated, United States District Court for the Southern District of Indiana Terre Haute
  Division, deposition testimony December 2013. Case No. 2:11-cv-0283 JMS-WGH.


  Jodi Soukup, Individually, and as Parent, Legal Guardian and Next Friend of Ryan Burford,
  A Minor v. Methodist Healthcare Ministries of South Texas, Inc. d/b/a Southwest Texas
  Methodist Hospital, and/or d/b/a or a/k/a/ Methodist Hospital; Columbia/HCA Healthcare
  Corporation of Central Texas; Methodist Healthcare Ministries of South Texas Inc.; Patricia
  K. Brougher, M.D. and Patricia K. Brougher, M.D., P.A., In the District Court 45th Judicial
  District Bexar County, Texas, deposition testimony December 2013. Cause No.
  2010CI17368.


  Ben Deason v. Jennifer Newsom, in the 145th District Court in and for the County of
  Nacogdoches County, Texas, deposition testimony October 2013




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  Tracy Windrum, Individually, as representative of the Estate of Lancer Windrum, and on
  behalf of her minor children Bethany Windrum, Jacob Windrum, and Holly Windrum v.
  Victor Kareh, M.D., Harpaul Gill, M.D., North Cypress Medical Center, North Cypress
  Medical Center Operating Company, GP, LLC, North Cypress Medical Center Operating
  Company, LTD and Coresource, Inc., In the District Court of Harris County, Texas, 133rd
  Judicial District, trial testimony October 2013


  Victoria “Anna” Janssen v. O’Reilly Automotive Stores, Inc., In the United States District
  Court for the Northern District of Texas Wichita Falls Division, Wichita Falls, Texas, trial
  testimony September 2013


  Denise K. Aguilar v. St. David’s Healthcare Partnership, LP, LLC d/b/a South Austin
  Medical Center, American Arbitration Association, Austin, Texas, deposition testimony
  August 2013


  Deann Hojnacki v. Trisun Healthcare, LLC, Arbitration Austin, Texas, deposition testimony
  August 2013


  Yadira Hernandez v. R.E.S.A., Inc., D/B/A Keller Williams Realty and Carolina Salcedo
  Cuevas, In the District Court 131st Judicial District, Bexar County, Texas, deposition
  testimony May 2013


  Y. Hoang Do, M.D. v. Texas Health and Human Services Commission, Office of Inspector
  General, Before the Health and Human Services Commission Appeals Division, Travis
  County, Texas, trial testimony May 2013


  David Meyer, Individually and o/b/o The Estate of Doreen Rae Meyer, Deceased, Sunny
  Ruud, Brandy Cebula, and Jon Novitsky o/b/o Krystin Novitsky, Minor Child v. Stephen
  Bodi, P.A. and M.D.’s Cyber Clinic, P.A. D/B/A Northwest Diagnostic Clinic, In the District
  Court of Williamson County, Texas 368th Judicial District, deposition testimony March 2013


  Instant Technology, LLC, an Illinois Limited Liability Company, v. Elizabeth Defazio, Laura
  Rehn, Megan Marker, Bethany Meek, Erin Bauer, Joel Katz, Andrea Katz, individuals and
  Connect Search, LLC, a Delaware Limited Liability Company, In the United States District
  Court for the Northern District of Illinois, Eastern Division, deposition testimony January
  2013




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  United Biologics, LLC, D/B/A United Allergy Labs & Nicolas Hollis v. Texas Allergy, Asthma
  and Immunology Society; Stuart L. Abramson, MD, PHD; Wesley W. Stafford, MD;
  Theodore M. Freeman, MD; William R. McKenna, MD and Michael P. Vaughn, MD, PHD, In
  the District Court of Travis County, Texas 353rd Judicial District, deposition testimony
  January 2013


  Lisa Rindfleisch, Tiffany Melendez, Michelle Gentile, Laurie Baker and Christina Nelmes,
  on behalf of themselves and others similarly situated, v. Gentiva Health Services, Inc., In
  the United States District Court Northern District of Georgia Atlanta Division, deposition
  testimony January 2013


  Jose Luis Alcantar, on behalf of himself and all others similarly situated v. Hobart Service,
  et al., United States District Court for the Western District of Texas, deposition testimony
  January 2013


  Certain Underwriters at Lloyd’s London and Professional Liability Insurance Services, Inc.
  v. IMA of Kansas, Inc., In the District Court of Travis County, Texas 353rd Judicial District,
  trial testimony


  Equal Employment Opportunity Commission v. Valero Refining – Texas LP, In the United
  State District Court for the Southern District of Texas Galveston Division, deposition
  testimony October 2012


  United Biologics, LLC, Formerly d/b/a United Allergy Services, Formerly d/b/a United
  Allergy Labs & Nicolas Hollis v. Texas Allergy, Asthma and Immunology Society; Stuart L.
  Abramson, MD, PHD; Wesley W. Stafford, MD; Theodore M. Freeman, MD; William R.
  McKenna, MD, and Michael P. Vaughn, MD, PHD., In the District Court of Travis County,
  Texas 353rd Judicial District, deposition testimony October 2012


  Y. Hoang Do, M.D. v. Texas Health and Human Services Commission, Office of Inspector
  General, before the Health and Human Services Commission Appeals Division, Texas,
  deposition testimony October 2012


  Xochitl Segovia, v. Williams Brothers Construction Company, Inc., In the District Court of
  Harris County, Texas 333 Judicial District, trial testimony August 2012


  ADP, Inc., a Delaware Corporation v. National Merchant Alliance, LLC, a Nevada Limited
  Liability Company, United States District Court for the Western District of Texas, deposition
  testimony June 2012



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  Dustin R. Thompson, v. J4 Development, LP, In the District Court of Travis County, Texas
  200th Judicial District, deposition testimony June 2012


  Certain Underwriters at Lloyd’s London and Professional Liability Insurance Services, Inc.
  v. IMA of Kansas, Inc., In the District Court of Travis County, Texas 353rd Judicial District,
  deposition testimony May 2012


  James R. Irion, III and Veniece M. Irion v. Sunrise Senior Living Management, Inc., D/B/A
  Brighton Gardens of Austin; and Prime Care Seven, LLC D/B/A Brighton Gardens of Austin,
  United States District Court Western District of Texas Austin Division, deposition testimony
  May 2012


  Elsa Ortega on behalf of S.L.O. and J.L.O. minors, et al v. United States of America, Jose
  Vicente Gaytan-Alcaya, et al, v. United States of America; Elsa Ortega and John Doe
  Ortega, Husband and Wife, In the United States District Court for the District of Arizona,
  deposition testimony April 2012


  William Kierre v. Gerry Lawler, M.D. and Hendrick Anesthesia Network, In the District Court
  of Taylor County 104th Judicial District, trial testimony April 2012


  Dawn Leamon, v. KBR, Inc.; et al, In the United States District Court for the Southern
  District of Texas Houston Division deposition, testimony April 2012


  Wilson Industries, L.P., v. Select Energy Services, LLC; and Bell Supply, LLC; In the
  District Court of Ector County, Texas 244th Judicial District, deposition testimony March
  2012


  Debra Nicholas v. San Antonio Water System, In the District Court 57th Judicial District
  Bexar County, Texas, trial testimony March 2012


  Lielonnie R. Lewis v. Save Mart Supermarkets and Does One through Fifty, inclusive,
  Superior Court of the State of California in and for the County of Alameda, deposition
  testimony February 2012


  Flordeliza Escano, Marila P. Maximo, Joel T. Catublas, and Penny Burney, on behalf of
  themselves and behalf of all other similarly situated, v. Kindred Healthcare Operating, Inc.,
  a Delaware Corporation, Kindred Healthcare, Inc., a Delaware Corporation, Specialty
  Hospitals of Southern California, a business form unknown, and Does 1 through 100,
  United States District Court Central District of California (Western Division – Los Angeles),
  deposition testimony February 2012

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  Anthony Stout, on behalf of himself and others similarly situated, v. Universal Ensco, Inc.,
  United States District Court Southern District of Texas Houston Division, deposition
  testimony November 2011


  Lashone Purnell, as an individual and on behalf of all employees similarly situated, v.
  Sunrise Senior Living Management, Inc., and Does 1 through 50, inclusive, United States
  District Court Central District of California Southern Division, deposition testimony August
  2011


  Jamie Leigh Jones v. Halliburton Company d/b/a KBR Kellogg Brown & Root (KBR);
  Kellogg Brown & Root Services, Inc.; Kellogg Brown & Root International Inc.; Kellogg
  Brown & Root, LLC; Kellogg Brown & Root, Inc.; Kellogg Brown & Root Inc.; Kellogg Brown
  & Root, S. de R.L.; Kellogg Brown & Root (KBR), Inc.; KBR Technical Services, Inc.;
  Overseas Administrative Services, Ltd.; Eric Iler, Charles Boartz; Several John Doe Rapists
  and the United States of America, In the United States District Court for the Southern
  District of Texas (Houston Division), trial testimony June 2011


  Debbie Goodwill, Individually and on Behalf of the Estate of Larry Goodwill, Cody Goodwill,
  and Wendy Christian v. United Parcel Service, Inc., et al, In the U.S. District Court for The
  Western District of Texas Austin Division, trial testimony June 2011


  Veronica Ochoa Valenzuela and Cesar De Viana, husband and wife v. Ford Motor
  Company, a Foreign Corporation, In the United States District Court for the District of
  Arizona, deposition testimony


  Jamie Leigh Jones v. Halliburton Company d/b/a KBR Kellogg Brown & Root (KBR);
  Kellogg Brown & Root Services, Inc.; Kellogg Brown & Root International Inc.; Kellogg
  Brown & Root, LLC; Kellogg Brown & Root, Inc.; Kellogg Brown & Root Inc.; Kellogg Brown
  & Root, S. de R.L.; Kellogg Brown & Root (KBR), Inc.; KBR Technical Services, Inc.;
  Overseas Administrative Services, Ltd.; Eric Iler, Charles Boartz; Several John Doe Rapists
  and the United States of America, In the United States District Court for the Southern
  District of Texas (Houston Division), deposition testimony May 2011


  Michael L. Collier, Ph.D. v. Texas Tech University and John Whitmore in his Official
  Capacity, In the District Court 99th Judicial District Lubbock County, Texas, trial testimony
  May 2011




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  Debbie Goodwill, Individually and on Behalf of the Estate of Larry Goodwill, Cody Goodwill,
  and Wendy Christian Plaintiffs, Cecelia Center, Individually and as Administrator of the
  Estate of George Reagan Center Intervenors, v. United Parcel Service, Inc., Tire Centers,
  LLC d/b/a TCI, and The Goodyear Tire & Rubber Company, In the United States District
  Court for the Western District of Texas Austin Division, deposition testimony March 2011


  Albert Kevin Martin, A/K/A Kevin Martin v. City of San Antonio and Its Agent, San Antonio
  Water System, In the District Court 224th Judicial District, Bexar County, Texas, trial
  testimony February 2011


  Delanie Ney, v. iProfile, LLC, Accord Human Resources, Inc. Virgo Capital Fund I, LP,
  Hemanth Parasuram, Guhan Swaminathan and Arun Prakash, Arbitration Cause No.
  701600042810, Austin, Texas, arbitration testimony January 2011


  State of Texas ex rel., Ven-A-Care of the Florida Keys, Inc. v. Alpharma USPD f/k/a
  Barrenational, Inc., Purepac Pharmaceutical Co., Actavis Mid Atlantic LLC, Actavis
  Elizabeth LLC, Barr Pharmaceuticals, Inc., Barr Laboratories, Inc., Duramed
  Pharmaceuticals, Inc., Pliva, Inc. f/k/a Sidmak Laboratories, Inc., Odyssey
  Pharmaceuticals, Inc., PAR Pharmaceutical, Inc., PAR Pharmaceutical Companies, Inc.,
  Watson Pharmaceuticals, Inc., Watson Pharma, Inc. f/k/a Schein Pharmaceutical, Inc.,
  Rugby Laboratories, Inc., Oclassen Pharmaceuticals, Inc., Marsam Pharmaceuticals, Inc.,
  and Andrx Pharmaceuticals, Inc., In the District Court of Travis County, Texas, 419th
  Judicial District, trial testimony, January 2011


  Kevin Blackwell and Amber Blackwell, Individually and As Next Friend of K.B. and S.B.,
  Minors v. Nissan Motor CO., LTD. And Nissan North America, Inc., In the United States
  District Court for the Eastern District of Texas Beaumont Division, deposition testimony
  January 2011


  Nicholas Tableriou, Individually, and as Administrator of the Estate of Jane Tableriou,
  Deceased, Nicole Tableriou, and Brett Tableriou v. John Marsden, M.D., Marsden One GP,
  LLC, Marsden One, LTD., Marsden Management, LLC, and The American Institute of
  Gastric Banding, LTD., D/B/A True Results, In the District Court Travis County, Texas 261st
  Judicial District, deposition testimony October 2010


  Prudence Adams v. Centex Freight Lines, LLC, In the District Court Travis County, Texas
  Judicial District, trial testimony October 2010


  Jeanette Eberhart; Hamilton Beaux O’Keady-Elicock; Howard Hill; and Philip Marc Orlow v.
  Frye Claims Consultation and Administration, Inc. a California Corporation, In the Superior
  Court of the State of California, Alameda County, deposition testimony September 2010


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  Shaunetta Eddings, individually and on behalf of a class of similarly situation individuals, v.
  Health Net, Inc., In the United States District Court for the Central District of California,
  deposition testimony September 2010


  Equal Employment Opportunity Commission and Connie Beseda, v. Zachry Industrial, Inc.
  (San Antonio) F/K/A Zachry Construction Corporation, (San Antonio), In the United States
  District Court for the Western District of Texas San Antonio Division, deposition testimony
  September 2010


  Candice Warde Rodriguez, Individually and on Behalf of Benjamin Wallace Rodriguez, a
  Minor, v. The United States of America, In the United States District Court, Eastern District
  of New York, deposition testimony August 2010


  Ronica R. Tabor on behalf of herself and all others similarly situated, Dacia S. Gray on
  behalf of herself and all others similarly situated, v. Hilti, Inc. a Domestic For Profit Business
  Corporation, and Hilti of America, Inc., a Foreign For Profit Business Corporation, In the
  United States District Court for the Northern District of Oklahoma, deposition testimony
  August 2010


  State of Texas ex rel., Ven-A-Care of the Florida Keys, Inc. v. Alpharma USPD f/k/a
  Barrenational, Inc., Purepac Pharmaceutical Co., Actavis Mid Atlantic LLC, Actavis
  Elizabeth LLC, Barr Pharmaceuticals, Inc., Barr Laboratories, Inc., Duramed
  Pharmaceuticals, Inc., Pliva, Inc. f/k/a Sidmak Laboratories, Inc., Odyssey
  Pharmaceuticals, Inc., PAR Pharmaceutical, Inc., PAR Pharmaceutical Companies, Inc.,
  Watson Pharmaceuticals, Inc., Watson Pharma, Inc. f/k/a Schein Pharmaceutical, Inc.,
  Rugby Laboratories, Inc., Oclassen Pharmaceuticals, Inc., Marsam Pharmaceuticals, Inc.,
  and Andrx Pharmaceuticals, Inc., In the District Court of Travis County, Texas, 419th
  Judicial District, deposition testimony July 2010


  Randall Barnett v. City of Austin, et al.; 353rd Judicial District Court, Travis County, Texas,
  hearing testimony May 2010


  Lugo, et al., v. Farmers Pride, In the United States District Court for the District of
  Pennsylvania, deposition testimony May 2010


  William Kierre v. Gary Lawler, M.D. and Hendrick Anesthesia Network, In the District Court,
  Taylor County, Texas, 104th Judicial District, deposition testimony April 2010




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  Ann Otsuka, an individual and on behalf of all others similarly situated; Janis Keefe, an
  individual; Corinne Phipps, and individual; Justin Kiser, an individual; and Renee Davis v.
  Polo Ralph Lauren Corporation; Polo Retail, LLC; Polo Ralph Lauren Corporation, doing
  Business in California as Polo Retail Corporation; and Fashions Outlet of America, Inc.,
  United States District Court Northern District of California, trial testimony March 2010


  Wai Chan, On behalf of herself and all others similarly situated v. Wells Fargo Financial,
  Inc., In the United States District Court for the Western District of Missouri, deposition
  testimony February 2010


  Billy Petty, Edward Petty and Amanda Stewart v. Devesh Ramnath, M.D., In the District
  Court Administratively transferred to the 95th Judicial District Dallas County, Texas,
  deposition testimony February 2010


  Luna v. Weddington, In the District Court of Harris County, Texas Judicial District 234, trial
  testimony January 2010


  Ann Otsuka, an individual and on behalf of all others similarly situated; Janis Keefe, an
  individual; Corinne Phipps, and individual; Justin Kiser, an individual; and Renee Davis v.
  Polo Ralph Lauren Corporation; Polo Retail, LLC; Polo Ralph Lauren Corporation, doing
  Business in California as Polo Retail Corporation; and Fashions Outlet of America, Inc.,
  United States District Court Northern District of California, deposition testimony December
  2009


  Mark Scherer, Doug Paslay and Hazel Bailey, individually, and on behalf of all other
  similarly situated v. Duke Energy Fossil-Hydro California Inc., a Delaware Corporation, and
  Wood Group Power Operations, Inc. A Nevada Corporation and Does 1 to 50, in the
  Superior Court of the State of California, County of Los Angeles, deposition testimony
  December 2009


  Michael K. McLennan, v. Applied Materials, Inc., United States District Court Western
  District of Texas Austin Division, deposition testimony December 2009


  Wilfredo Cruz, Matthew Allbee, Guadalupe Varela, Raul Torres, and Ken Joseph,
  individually and on behalf of a class of similarly situation persons, v. Unilock Chicago, Inc.,
  an Illinois Corporation, In the Circuit Court of the Sixteenth Judicial District Kane County,
  Illinois, deposition testimony December 2009


  Daniel Friedenbach, Individually and on behalf of all survivors of the Estate of Lorie Frazier
  Friedenbach, v. Gary A. Croll, in the District Court of Dallas County, Texas, 14th Judicial
  District, deposition testimony November 2009

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  Fermin Cortez, et al., v. Nebraska Beef, Inc., and Nebraska Beef, LTD., David Chuol, et al.,
  v. Nebraska Beef, LTD., The United States District Court For The District of Nebraska,
  deposition testimony November 2009


  Jeff Gebenus and Wesley Chong, individuals, on behalf of themselves and others similarly
  situated v. Rite Aid Corporation, a Delaware corporation, and Thrifty Payless, Inc., a
  California Corporation, in the Superior Court Of Washington For King County, deposition
  testimony November 2009


  Margaret A. Guerra v. San Antonio Water System; Pending in the 73rd Judicial District
  Court, Bexar County, Texas, deposition testimony September 2009


  David and Esther Luna v. Lloyd Damon Weddington, M.D. and Diabetes Center of America,
  In The District Court Of Harris County, Texas, 234Th Judicial District, deposition testimony
  September 2009


  Wilfredo Cruz, Matthew Albee, Guadalupe Varela And Raul Torres, Individually and on
  behalf of a class of similarly situated persons, v. Unilock Chicago, Inc., An Illinois
  Corporation, and Jonathon Harn, An Individual, In the Circuit Court Of Sixteenth Judicial
  District, Kane County, Illinois, deposition testimony September 2009


  Kent Schmidt, v. KMS Retail-Ben White, LPKMS Retail Euless, LA, Kent Stainback, d/b/a
  The Stainback Organization, Pete Becerra, Jimmy Evans Company, Ltd., In The District
  Court, 345th Judicial District, Travis County, Texas, deposition testimony August 2009


  Howard Hopkins et al, v. The First American Corporation And First American Real Estate
  Tax Service, In The United States District Court Of Texas, Fort Worth Division, deposition
  testimony July 2009


  Westin Casuarina Las Vegas, Hotel, Casino & Spa v. The Coaching Center, LLC, Before
  The American Arbitration Association, Arbitration meeting June 2009


  Billy Ray Tratree v. B.P. Pipelines, Inc., Kelley Gleason and Roy Bowden, in the United
  States District Court for the Southern District of Texas, deposition testimony June 2009


  Kent Schmidt, v. KMS Retail-Ben White, LPKMS Retail Euless, LA, Kent Stainback, d/b/a
  The Stainback Organization, Pete Becerra, Jimmy Evans Company, Ltd., In The District
  Court, 345th Judicial District, Travis County, Texas, deposition testimony May 2009


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  Juan Manual Lopez-Verduzco, v. CTNA, et al Arizona Superior Court, County Of Maricopa,
  deposition testimony April 2009


  James J. Byerlotzer v. Key Energy Services, Inc., In The District Court Of Harris County,
  Texas 55Th Judicial District, deposition testimony March 2009


  David Liszt and Karen Liszt v. Richard B. Stovall, MD.; Luis Mignucci, MD., Individually and
  d/b/a Luis Mignucci, MD., P.A., and d/b/a NeuroSpine Surgical Consultants; and Medical
  Center of Plano; In the 219th District Court of Collin County, Texas, deposition testimony
  March 2009


  Marie Popek, Individually and on Behalf of Those Similarly Situated, v. Allied Barton
  Security Services LLC, a Delaware Limited Liability Company; Allied Barton Security
  Services LP, a Delaware Limited Partnership; and Does 1 through 30, inclusive, Superior
  Court of the State of California for the County of San Francisco, CA., deposition testimony
  December 2008


  Charles Heath Leiber v. IE Miller Service L.P., IE Miller-Fowler L.L.C., and Noah Charles
  Lawson, In the District Court 12th Judicial District of Grimes County, Texas, deposition
  testimony November 2008


  Billy Ray Tratree v. B.P. Pipelines, Inc., Kelley Gleason and Roy Bowden, in the United
  States District Court for the Southern District of Texas, deposition testimony November
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  Doris H. Gray, a married woman, v. Motorola, Inc., a Delaware Corporation, In the Superior
  Court in and for Maricopa County in the State of Arizona, deposition testimony November
  2008


  Fred Klecka v. Allstate Insurance Company and Kathleen Abed, In The District Court 37th
  Judicial District, Bexar County, Texas, trial testimony November 2008


  Esteban Barron v. Larry Paul Hatter, Jr., And Estes Express Lines d/b/a Estes Express
  Lines, Inc., In The District Court, 146Th Judicial District, Bell County, Texas, deposition
  testimony October, 2008


  UNIVAR USA, Inc., v. Stacey B. Blanton, In The District Court Harris County, Texas 61st
  Judicial District, deposition testimony August 2008


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  Pedro Gonzalez v. City Of San Antonio, Acting By And Through Its Agent, City Public
  Service Board d/b/a CPS Energy, In The District Court 225th Judicial District Bexar County,
  trial testimony, San Antonio, Texas August 2008


  Charles Young v. Brand Scaffold Services, LLC, In the Eastern District Court for the
  Eastern District of Texas, Beaumont Division, deposition testimony June 2008.


  Al Scott, Individually And As Administrator Of The Estate Of Dottie Scott, Deceased, And
  Susan Scott And Sherri Scott v. Sandip V.Mathur, M.D. and Abilene Regional Medical
  Center In The 42nd Judicial District Court of Taylor County Texas, deposition testimony
  April 2008


  International Association Of Firefighters, LOCAL 629 AFL-CIO, et al v. City Of Monroe, in
  the United States District Court, Western District Of Louisiana, Monroe Division, deposition
  testimony March 2008


  Jennifer Jarmon and, Cassius Jarmon, Individually and as Co-Administrators of the estate
  of Cassidy Jarmon, Deceased, and as Next Friends to Callie Jarmon, a minor child v.
  Delbert J. Davison, Old American County Mutual, Prine Towing and Recovery, Inc.
  COPART, Inc., and Daimler Chrysler Corporation, In the District Court, 412th Judicial
  District, Johnson County, Texas, deposition testimony February 2008


  Veronica Ramirez Aguilar, Individually, as representative of the estate of Mario Islas
  Minero, and on behalf of all wrongful death beneficiaries v. Heart Employee Leasing, Inc.
  D/B/A and Heart HR, and S and D Plumbing- Taylor LLC, In the District Court of Travis
  County, Texas, 353rd Judicial District, deposition testimony January 2008


  Rolando Garcia v. Design Werks, Inc., In the District Court of Travis County, 98th Judicial
  District, deposition testimony January 2008


  Wilford Vogt, James P. Gauthier, and Humberto Reyna, Jr., for themselves and all others
  similarly-situated United States District Court, for the Northern District Of Texas Dallas,
  Dallas Division v. Texas Instruments Incorporated, deposition testimony November 2007


  Randall Barnett, In The District Court, 353RD Judicial District v. City Of Austin, Powell
  Austin Properties, Ltd., Powell Holdings, Inc., Makota, Inc., and Alejandro Herrera, Travis
  County, Texas, deposition testimony November 2007




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  Cynthia S. Escamilla v. United Services Automobile Association, a Reciprocal, and Michael
  Barry, arbitration November 2007


  Cynthia S. Escamilla v. United Services Automobile Association, a Reciprocal, and Michael
  Barry, deposition testimony October 2007


  Jesus F. Diaz, Individually, as next friend of Marco A. Montoya and Racquel A. Diaz,
  minors and as dependent Co-Administrator of the Estate of Maria E. Diaz; James L.
  Caldwell, as dependent Co-Administrator of the Estate of Maria E. Diaz; Alejandro E. Diaz’
  and Isidora Gonzales v. General Motors Company, Autonation USA d/b/a Champion
  Chevrolet, H. E. Butt Grocery Company and Gilbert E. Delgado III in the Probate Court,
  Travis County Texas, deposition testimony August 2007


  Angela Kay Warden, and husband, Brent Warden v. Wendell B. Ashby, MD, In The 108th
  District Court, Potter County, Texas, trial testimony May 2007


  Angela Kay Warden, and husband, Brent Warden v. Wendell B. Ashby, MD, In The 108th
  District Court, Potter County, Texas, deposition testimony May 2007


  William Montano and Doris Lucero v. Christmas By Krebs Corp., In The United States
  District Court For The District Of New Mexico, deposition testimony March 2007


  Daniel J. Davis, III and Yvonne Davis v. Worthy Warnack, M.D., Britt T. Daniel, M.D. and
  Margaret Hollar, D.O.; In the District Court Dallas County, Texas 95th Judicial District,
  deposition testimony February 2007


  Julian James, Individually, Daphne Bates Harrison, et al. v. Harris County Sheriff’s
  Department, et al, In the United States Court for the Southern District of Texas, Houston
  Division, trial testimony January 2007


  Sheila K. Robinson, Plaintiff, in the District Court of Brazos County, Texas v. Texas A&M
  University, Defendant in the 85th Judicial District, College Station, Texas, trial testimony
  January 2007


  Viridiana Mata, Individually and Alejandro Rodriguez Individually, and all on Behalf of
  Genoveva Rodriguez, a Minor v. Mission Hospital and Heather A. Daley, M.D. 370th
  Judicial District in the District Court of Hidalgo County, Texas, deposition testimony
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  Billy Ray Tratree v. B.P. Pipelines, Inc.; In the United States District Court for the Southern
  District of Texas Houston Division, trial testimony October 2006


  Julian James, Individually; Daphne Bates Harrison, Individually, et al. v. Harris County
  Sheriff’s Department and William Wilkinson; In the United States District Court for the
  Southern District of Texas Houston Division, deposition October 2006


  Texas Health and Human Services Commission, Medicaid and other Health and Human
  Services Fraud and Abuse Program Integrity - Legal Action Relating to Dr. Turner Lewis,
  M.D., administrative hearing September 2006


  Billy Ray Tratree v. B.P. Pipelines, Inc.; In the United States District Court for the Southern
  District of Texas Houston Division, trial testimony August 2006


  Julian James, Individually, Daphne Bates Harrison, et al., v. Harris County Sheriff’s
  Department, et al, In the United States Court for the Southern District of Texas, Houston
  Division, testimony deposition March 2006


  Michael Gibson v. Ondeo Nalco Energy Services, Inc. and Ondeo Nalco Company In the
  United States District Court for the Southern District of Texas, Houston Division, trial
  testimony February 2006


  Frederick L. Risker v. Mahnaz Naveed Shah, M.D., Kelsey –Seybold Medical Group, P.A.,
  and Gramercy Surgery Center, Ltd. D/B/A Gramercy Outpatient Surgery Center, deposition
  testimony November 2005


  Larry Butler and Cathy Butler, Individually and on Behalf of Brittany Butler, a minor, and
  Erin Ferguson v. Kyle Kennedy, Russell Kennedy, Randi K. Kennedy, and Dana Harris,
  deposition testimony September 2005


  Cheryl Smith, Individually and as Guardian and Next Friend of Michelle Smith, an
  Incapacitated Person v. Reyna Jean Noble, Ross Road Boring, Co., and Bobby L.
  Lambright, and Mark Huber, Individually and on Behalf of Jessica Huber, A Minor v. Ross
  Road Boring, Co., and Bobby L. Lambright, deposition and trial testimony August 2005


  Amy Adkins v. Futurion Associates, Inc., deposition testimony August 2005




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  Jennifer Passi, Individually and a/n/f of Gracelyn Ann and Grant Michael Passi, Minor
  Children and as Representative of the Estate of Michael Vincent Passi, deceased v. Dr.
  Emery W. Dilling and Dr. Staton L. Awtrey; In Travis County, Texas, deposition testimony
  August 2005


  Tanya Valdez, as next friend of Alejandro Ruben Pando, a minor and Lelia Alvarez,
  Individually and as representative of the estate of Ruben Pando, Jr., deceased v. Brinker
  Texas, L.P. D/B/A On The Border Mexican Grill & Cantina, Brinker Chili’s Texas, Inc. D/B/A
  On The Border Mexican Café, Brinker International, Inc, Chili’s Beverage Company, Inc.,
  and Marlene Muniz as independent administrative and personal representative of the estate
  of Felipe Ornelas, Jr., deposition testimony 2005


  Vanessa Sinegaure, Individually and as a Representative of the Estate of Darnell Eugene
  Sineguare v. Bally Total Fitness Corporation, et al; In the 334th Judicial District Court,
  Harris County, Texas, deposition and trial testimony 2005


  Jerry L. Bigelow, Individually and as Next Friend of B.B., J.N.B., J.T.B. and S.B., Minors v.
  Living Picture AG, Living Picture Ltd., Living Picture GmbH and New York Lighter Co., Inc.;
  U.S. District Court, Western District of Texas, Austin Division, deposition testimony 2005


  Suresh Dutta v. David Pistenmaa, In the United States District Court for the Northern
  District of Texas, Dallas Division, deposition and trial testimony 2005


  Carrie Bennett, Individually as Representative of the Estate of Roy Edward Bennett,
  Deceased, and as Next Friend of Lane Edward Bennett, Cody Lee Bennett and April Anne
  Bennett v. Stephens Martin Paving, LP, Mobile Products, Inc. D/B/A Lay-Mor ; In the
  District Court, Taylor County, Texas, 42nd Judicial District, deposition testimony 2005


  Robert Edwin Wills v. Sysco Food Services of Austin, L.P. and Rickey Charles Green In the
  82nd Judicial District Court of Robertson County, Texas, deposition testimony 2005


  Michael Gibson v. Ondeo Nalco Energy Services, Inc. and Ondeo Nalco Company; In the
  United States District Court for the Southern District of Texas, Houston Division, deposition
  testimony 2005


  Regina Kelly, et al. v. John Paschall et al.; In the United States District Court for the
  Western District of Texas; Waco Division, deposition testimony 2004 and 2005


  Charles White v. Technip USA Corporation and Technip, Inc.; In the 11th Judicial District
  Court of Harris County, Texas, deposition testimony 2005

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  Mike Arismendez and Elva Arismendez v. Covenant Health Systems d/b/a Covenant
  Medical Center; In the 237th District Court of Lubbock County, Texas, deposition testimony
  2005


  Linda Webb, Individually and on behalf of others similarly situated, v. Barnes Group Inc
  States District Court, Northern District of Texas, Dallas Division; Consolidated Case No.
  3-02CV2716-Rm class certification 2004


  Margia Blankenship, et al. v. Marathon Oil, In the District Court of Harris County 281st
  Judicial District, class certification 2004


  Margia Blankenship, et al. v. Marathon Oil, In the District Court of Harris County 281st
  Judicial District, deposition testimony 2004


  Janet Herdman, et al. v. El Paso Energy Corporation et al., In the District Court of Harris
  County, Texas 234 Judicial District, deposition testimony 2004


  Sylvia Garcia and Rachel Garcia, Individually and on Behalf of the Estate of Richard
  Garcia, Deceased v. Ted L. Phipps, M.D. and The Lubbock Digestive Disease Associates,
  P.A. and Covenant Health Systems d/b/a Covenant Medical Center In The 237th District
  Court of Lubbock County, Texas, deposition testimony 2004


  Benavides v. Cushman et al, In the District Court of Harris County, Texas; 280th Judicial
  District, trial testimony 2004


  Jason Malone v. D.R. Horton – Emerald, Ltd.; In the 129th Judicial District Court of Harris
  County, Texas, deposition testimony 2003


  Donald Castleberry and Mary Castleberry v. R. Douglas Mills, M.D., Nurse Jane Doe, St.
  David’s Healthcare System, L.P. d/b/a North Austin Medical Center and Capital Emergency
  Associates; In The 353rd Judicial District Court of Travis County, Texas, deposition
  testimony 2003


  Hammer Trucking, Inc. v. St. Paul Fire and Marine Insurance Company, et al.; In the 271st
  Judicial District Court of Wise County, Texas, deposition testimony 2003


  Rodney Wayne Hurt, M.D. v. Southwest Lincoln Mercury, deposition testimony 2003



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  Juan T. Gonzales v. S & B Engineers and Contractors, Ltd.; In the District Court of Harris
  County, Texas; 280th Judicial District, deposition testimony 2003


  John McKelvey and Lawanda McKelvey v. Arctic Pipe Inspection, Inc.; In the 333rd Judicial
  District Court, Harris County, Texas, deposition testimony 2003


  Gwendolyn Mason v. American Electric Power/Central Power and Light Company, In the
  United States District Court, Western District, deposition testimony 2003


  Linda Webb, Individually and on behalf of others similarly situated, v. Barnes Group Inc
  States District Court, Northern District of Texas, Dallas Division; Consolidated Case No.
  3-02CV2716-R deposition testimony 2003


  Clawson v. Michael Landess and Covert Ford; In the district court of Travis County, Texas,
  345th judicial district, deposition testimony 2003


  Juan T. Gonzales v. S & B Engineers and Contractors, Ltd.; In the District Court of Harris
  County, Texas; 280th Judicial District, trial testimony 2003


  Benavides v. Cushman et al, In the District Court of Harris County, Texas; 280th Judicial
  District, trial testimony 2003


  Gwendolyn Mason v. American Electric Power/Central Power and Light Company, In the
  United States District Court, Western District, trial testimony 2003


  Mandy De Leon v. Ivan Melendez, M.D et al., In the District Court, Hidalgo County, Texas,
  332nd Judicial District, deposition testimony 2002


  Nicole Terry, et al. v. Qwest Communications, Inc., Santos Ruiz Castillo, and Hertz
  Equipment Rental, Inc.; In the 82nd District Court of Robertson County, Texas, deposition
  testimony 2002


  Maria Hilda Rodriguez v. Emerson Electric Co et al., In the United States District Court for
  the Southern District of Texas, McAllen Division, deposition testimony 2002


  In Re: Ambrocio Suarez, Jr., Deceased; In the Probate Court #2 of Harris County, Texas,
  deposition testimony 2002



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  Robert L. Hunt and Lisa S. Hunt v. Century 21 Ripley Realty, Robert H. Carroll and Sylvia
  K. Carroll; in the District Court Williamson County, Texas, 26th Judicial District, deposition
  testimony 2002


  Marcelyn K. Boone, Individually, and on behalf of similarly situated persons, Plaintiff v.
  Union Carbide Corporation, Defendant; United States District Court, Southern District of
  Texas, Galveston Division, deposition testimony 2002


  Thomas J. Galland v. David L. Winn; In the District Court of Williamson County, Texas,
  368th Judicial District, deposition testimony 2002


  Tranquilino C. Munoz v. Newtron, Inc. and John Grant, In the District Court, Jefferson
  County, Texas 60th Judicial District, deposition testimony 2002


  Kirk Chi v. Dell Computer Corporation; In the United States District Court, Western District
  of Texas, deposition testimony 2002


  Pablo Reyes v. Glesby Marks Corporation; Atlas Air Conditioning Company, L.P.; Comfort
  Systems U.S.A., Inc.; Atlas-Accurate Holdings, L.L.C. and John Bolan; In the District Court
  of Harris County, Texas, 189th Judicial District, deposition testimony 2002


  Gwendolyn Mason v. American Electric Power/Central Power and Light Company; In the
  Southern District of Texas, Corpus Christi Division, deposition and trial testimony 2002


  Dario Ibarra v. Pat Haas, d/b/a Patrick Haas Construction and Barton Creek Lakeside, LLC,
  in the 345th Judicial District Court of Travis County, Texas, Personal Injury, deposition
  testimony 2002


  Benavides v. Cushman et al, In the District Court of Harris County, Texas; 280th Judicial
  District, deposition testimony 2002


  Alcatel USA, Inc. v. Cisco Systems, Inc., In the United States District Court for the Eastern
  District of Texas, Sherman Division, deposition testimony 2002


  Thomas J. Galland v. David L. Winn; In the District Court of Williamson County, Texas,
  368th Judicial District, trial testimony 2002


  Mandy De Leon v. Ivan Melendez, M.D et al., In the District Court, Hidalgo County, Texas,
  332nd Judicial District, trial testimony 2002

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  Juanita Fletcher v. City of Houston, In the 189th Judicial District Court, Harris County,
  Texas, trial testimony 2002


  Keith Ferrell and Tracey Ware v Robert Robinson and the City of Houston, In the County
  Civil Court at Law Number One, Harris County, Texas, deposition testimony 2001


  Barbara LaRoche v. Daughters of Charity Health Services of Austin, et al, In the 126th
  Judicial District Court of Travis County, Texas deposition testimony 2001


  Brandenburg v. Georgetown Independent School District, United States District Court,
  Western District of Texas, trial testimony 2001


  EEOC v. BP Amoco et al., In the United States District Court for the Southern District of
  Texas, Houston Division, deposition testimony 2000


  Gomez v. United Parcel Service, United States District Court, Western District of Texas,
  deposition testimony 2000


  Pineda v. The City of Houston, In the United States District Court for the Southern District
  of Texas, Houston Division, deposition testimony 2000


  McDonald v. Dr. Sophia Burns, M.D., 268th District Court Fort Bend County, Texas,
  deposition testimony 2000


  Michelle Toussaint v. Sonic Restaurant, In the 136th District Court of Jefferson County,
  Texas, deposition testimony 2000


  Woolf v. Vincent, M.D., 9th District Court, Polk County Texas, deposition testimony 2000


  Isaac Robinson as Next Friend of Chasity Amanda Robinson, Arizona Jackson and Earlean
  Murray, as Executive of the Estate of Ruby McDonald v. Dr. Sophia Burns, M.D. 268th
  District Court Fort Bend County, Texas, deposition testimony 2000


  Olen Lovell III v. Texas Health Resources, Herman Methodist System, Arbitration Cause
  No. 1310010565, Dallas, Texas, arbitration 1999




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  Walker et al v. Facility Insurance Corporation, et al, In the District Court of Travis County,
  Texas 98th Judicial District, deposition testimony 1999


  Milton Santiago v. American Airlines, Inc., In the 191st Judicial District Court, Dallas
  County, Texas, deposition testimony 1999


  Brown v. Sysco, Inc., United States District Court, Western District of Texas, deposition
  testimony 1999


  Walker et al v. Facility Insurance Corporation, et al, In the District Court of Travis County,
  Texas 98th Judicial District, Robinson/Daubert hearing testimony 1999


  Mato v. Dr. Jack Baldauf, et.al, United States District Court, Western District of Texas,
  Austin, trial testimony 1999


  Goode v. City of Austin and Fine Host Corp, United States District Court, Western District of
  Texas, deposition testimony 1998


  Chambers v. Texas A&M et al., United States District Court, Western District of Texas,
  deposition testimony 1998


  Chambers v. Texas A&M et al., United States District Court, Western District of Texas, trial
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